                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )       NO. 3:12-00076
                                                      )       JUDGE CAMPBELL
ALLEN ROY WALKER, et al.                              )

                                               ORDER

         The Court will hold a status conference on November 14, 2012 at 1:00 p.m. for all

Defendants. All Defendants and their attorneys shall be present at the hearing.

         It is so ORDERED.



                                                      _________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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